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Case 2:16-cV-01805-I\/||\/|D-VCF Document 1 Filed 07/29/16 Page 1 of 12

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Attorneys for Plaintiff, SHANTELL ORTIZ

UNITED STATES DISTRICT COURT

 

DISTRICT OF NEVADA

sHANTELL oRTIZ,' ease NO.;

PLAINTIFF;

COMPLAINT FOR DAMAGES
vs.

LOGISTICARE SOLUTIGNS, LLC, a (DEMAND FOR JURY TRIAL)
foreign limited liability company;
AND DOES 1~50, inclusive;

DEFENDANTS.

 

 

 

CGMES NOW, Plaintiff, SHANTELL ORTIZ (herein “PLAINTIFF”) and files this civil
action against Dcfendants, and each of them, for violations of the Arnericans With Disabilities
Act of 1990 (42 U.S.C. §§12101 et seq.); as Well as violations under Nevada Revised Statutes §§
613.330 et seq.; and related claims under Nevada laW, Seeking damages, and alleges as follows: l
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COMPLAINT FOR DAMAGES
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Case 2:16-cV-01805-I\/||\/|D-VCF Document 1 Filed 07/29/16 Page 2 of 12

JURISDICTION AND VENUE

1. This Court has jurisdiction and venue over this action pursuant to 28 U.S.C. §§
1331, 1343, 42 U.S.C. §2000e, and the Americans with Disabilities Act of 1990 (42 U.S.C.
§§12101 et seq.) which confer original jurisdiction on federal district courts in suits to address
the deprivation of rights, privileges and immunities secured by the United States Constitution
and federal law.

2. Jurisdiction of this Court is also appropriate under 42 U.S.C. §§ 1981, 1983 and
1985(3) and any related claims under Nevada law.

3. Supplemental Jurisdiction of this Court is invoked pursuant to 28 U.S.C. § 1367
over the State law claims which are so related to the federal claims in this action that they form
part of the same case or controversy under Article III of the United States Constitution.

4. Plaintiff has exhausted her administrative remedies.

5. All conditions precedent to jurisdiction under section 42 U.S.C. §2000e-5(f) have
occurred or been complied with:

a. A charge of employment discrimination was filed with the Equal
Employment Opportunity Commission ("EEOC") within 180 days of the commission of the
unlawful employment practice alleged herein and / or within 300 days of PLAINTIFF instituting
proceedings with a State or local agency with authority to grant or seek relief from such unlawful
employment practices alleged herein;

b. A Notice of Right to Sue in Federal Court was received from the EEOC,
dated May 5, 2016. (A true and correct copy of said letter is attached and incorporated herein as
Exhibit “1”.)

6. This complaint has been filed within 90 days of receipt of the EEOC's
Notification of Right to Sue.

7. Venue is proper in the District of Nevada because the unlawful employment
practices alleged herein were committed in whole or in part in the District of Nevada pursuant to
28 U.S.C. § l391(b).

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Case 2:16-cV-01805-I\/||\/|D-VCF Document 1 Filed 07/29/16 Page 3 of 12

PARTIES
PLAINTIFF

8. Plaintiff, SHANTELL ORTIZ (hereinafter “PLAINTIFF”) was a
qualified/eligible “employee” of Defendant, LOGISTICARE SOLUTIONS LLC
(“LOGISTICARE”), within the meaning of 42 U.S.C. §2000e(f); the Americans with Disabilities
Act of 1990 (42 U.S.C. §§12111) and related claims under Nevada law.

DEFENDANTS

9. Defendant, LOGISTICARE SOLUTIONS, LLC (“LOGISTICARE”), is a
Nevada limited liability company qualified to do business in Nevada as LOGISTICARE
SOLUTIONS, LLC and employs 50 or more employees and is an "employer" within the
meaning of 42 U.S.C. §2000€(b); the Americans with Disabilities Act of 1990 (42 U.S.C.
§§12111); and related claims under Nevada law. LOGISTICARE has offices located at 3291 N.
Buffalo Drive, Las Vegas, NV 89129.

10. The true names and capacities, whether individual, corporate, associate, or
otherwise, of Defendants DOES 1 through 50, inclusive, are unknown to PLAINTIFF at this
time, who therefore sues said Defendants by such fictitious names. PLAINTIFF is informed and
believes and thereon alleges that each of the fictitiously named Defendants are in some way
responsible for, or participated in, or contributed to, the matters and things complained of herein,
and is legally responsible in some manner. PLAINTIFF shall request leave of this Court to
amend this Complaint when the true names, capacities, participation and responsibilities have
been ascertained

STATEMENT OF FACTS

11. PLAINTIFF began her employment with LOGISTICARE on or about October
24, 2014 as a Customer Service Representative. In this capacity, PLAINTIFF was paid 810.00
per hour.

12. Rachel (last name unknown), also known as “Desa,” was a Manager at
LOGISTICARE and PLAINTIFF’s supervisor
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Case 2:16-cV-01805-I\/|I\/|D-VCF Document 1 Filed 07/29/16 Page 4 of 12

13. On or about February 28, 2015, PLAINTIFF informed Rachel that she was
suffering from severe pain in her left arm. Rachel told PLAINTIFF to see a doctor immediately
PLAINTIFF was first seen at Urgent Care and told she could possibly have neuropathy.
PLAINTIFF followed-up with her primary care doctor that same day who had prescribed her
pain medications, referred her to a neurologist and advised PLAINTIFF to take time off from
work due to her disability. Both doctors had written a doctor’s note on PLAINTIFF’s behalf.

14. PLAINTIFF had sent Rachel a text message that same day to inform Rachel of
her visit with her primary care doctor.

15 . PLAINTIFF had a follow-up visit with her primary care doctor four days later.
He had recommended she take a couple more days off from work. He wrote another doctor’s
note on PLAINTIFF’s behalf.

16. On or about March 4, 2015 , PLAINTIFF returned to work at LOGISTICARE and
placed doctor’s notes from Urgent Care and from her primary care doctor on Rachel’s desk
because she was not in her office. In the notes, PLAINTIFF’s primary care doctor requested a
light duty accommodation for PLAINTIFF due to her disability.

17. Later that morning, PLAINTIFF was called into a meeting by Rachel and the
Manager of Operations, `Bruce (last name unknown). PLAINTIFF was told she was suspended
while LOGISTICARE Human Resources investigated the authenticity of PLAINTIFF’s doctor’s
note. PLAINTIFF was told Rachel would call to inform her of the outcome. l

18. PLAINTIFF was asked to relinquish her personal ID badge and desk drawer key
immediately and was suspended indefinitely without pay.

19. PLAINTIFF had previously missed work approximately three (3) times for
medical or illness reasons for herself or her children. PLAINTIFF had provided a doctor’s note
each time without issue.

20. On or about March 12, 2015, PLAINTIFF was called by Rachel and asked to
come into the office for a meeting PLAINTIFF met with Rachel and a newly hired Human
Resources representative Rachel handed PLAINTIFF her final paycheck and informed her she
was no longer employed at LOGISTICARE.

 

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Case 2:16-cV-01805-I\/|I\/|D-VCF Document 1 Filed 07/29/16 Page 5 of 12

21. When PLAINTIFF asked why she was being discharged, Rachel was dismissive
and told PLAINTIFF to “take it up with Bruce.”

22. PLAINTIFF believes that LOGISTICARE’$ decision to discharge her was pretext
for disability discrimination

23. At no time did anyone from LOGISTICARE initiate the interactive process to
determine the nature and extent of the problem and then determine what reasonable
accommodations were needed. At no time did anyone from LOGISTICARE accommodate
PLAINTIFF as requested lnstead, PLAINTIFF was suspended indefinitely and subsequently
terminated from her position as a customer service representative

24. PLAINTIFF was disabled as defined by the Americans with Disabilities Act as a
result of her medical condition, specifically severe pain, possibly neuropathy, in her left arm.
Most importantly, LOGISTICARE was and at all material times had been aware of the extent
and nature of PLAINTIFF’S disabilities for her medical condition. LOGISTICARE is and at all
material times has been aware of the extent and nature of PLAINTIFF’s disabilities

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DISABILITY DISCRIMINATION
Americans with Disabilities Act (42 U.S.C. §§12101 et seq.)
NV Rev. Stat. §§ 613.330 et seq.

(LOGISTICARE SOLUTIONS, LLC AND DOES 1-50, inclusive.)
25 . PLAINTIFF hereby incorporates paragraphs 1 through 24 of this Complaint as

though fully set forth herein.

26. PLAINTIFF has a disability within the meaning of the Americans with
Disabilities Act (“ADA”). A “disability” under the ADA is a physical or mental impairment that
substantially limits one or more of the maj or life activities of such individual. The terms
disability and physical or mental impairment include (1) any physiological disorder, or condition,
affecting one or more of the following body systems: neurological, musculoskeletal and others;
or (2) any mental or psychological disorder such as emotional or mental illnesses among others.

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Case 2:16-cV-01805-I\/||\/|D-VCF Document 1 Filed 07/29/16 Page 6 of 12

27. PLAINTIFF is a qualified individual, meaning an individual with a disability
who, with or without a reasonable accommodation, can perform the essential functions of the
employment position that such individual holds or desires. PLAINTIFF satisfies the requisite
skill, experience, education, and other job-related requirements of the employment position of
Manager.

28. LOGISTICARE failed to initiate and/or engage in the interactive process with
PLAINTIFF to determine what reasonable accommodations would apply to enable PLAINTIFF
to work as a Customer Service Representative.

29. PLAINTIFF requested of LOGISTICARE an accommodation due to her
disability and/or LOGISTICARE knew, or had reason to know that (a) PLAINTIFF has a
disability; and (b) PLAINTIFF was experiencing workplace problems because of the disability.
LOGISTICARE could have made a reasonable accommodation that would have enabled the
PLAINTIFF to perform the essential functions of the job by providing her with a customer
service position with limited duties.

30. The requested accommodation did not impose an undue hardship on the operation
of LOGISTICARE’s business.

31. PLAINTIFF claims that her disability was a motivating factor for
LOGISTICARE’s decision to suspend her and subsequently terminate her employment

32. LOGISTICARE engaged in a practice of discriminating against PLAINTIFF as a
result of PLAINTIFF’S disability LOGISTICARE’s unlawful discrimination against
PLAINTIFF includes treating employees differently based on their disability related to
employment, including recruitment, hiring, assignments, discipline, promotion, and benefits.

33. LOGISTICARE, through its agents or supervisors, failed to adequately supervise,
control, discipline, and/or otherwise penalize the conduct, acts, and failures to act of
LOGISTICARE as described above thereby ratifying the unlawful conduct of its agents or
supervisors

34. LOGISTICARE’s unlawful actions were intentional, willful, malicious and/or

done with reckless disregard for PLAINTIFF’S federally protected ri ghts.

 

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Case 2:16-cV-01805-I\/||\/|D-VCF Document 1 Filed 07/29/16 Page 7 of 12

35. PLAINTIFF requests relief as described in the Prayer for Relief below.
COUNT II

RETALIATION
Americans With Disabilities Act (42 U.S.C. §§12101 et seq.)
NV Rev. Stat. §613.330 et seq.

(LOGISTICARE SOLUTIONS, LLC AND DOES 1-50, inclusive.)
36. PLAINTIFF hereby incorporates paragraphs l through 35 of this Complaint as

though fully set forth herein.

37. PLAINTIFF engaged in an activity protected under federal and state laws,
including reporting of LOGISTICARE’s intentional, voluntary, deliberate, and willful
discrimination against PLAINTIFF by depriving of or interfering with PLAINTIFF’S rights and
benefits, and LOGISTICARE subjected PLAINTIFF to adverse employment acts, including but
not limited to a suspension pending an investigation and termination

38. PLAINTIFF was subjected to the adverse employment actions described herein
because she requested reasonable accommodation LOGISTICARE reacted by depriving her of
her rights and benefits under the Americans with Disabilities Act (42 U.S.C. §§12101 er seq,) by
suspending her and subsequently terminating her.

39. PLAINTIFF was subjected to the adverse employment action described herein
because of her participation in the protected activity and adverse employment action would not
have occurred but for that participation

40. As a direct and proximate result of the LOGISTICARE’s willful, knowing, and
intentional discrimination and retaliation against PLAINTIFF, PLAINTIFF has suffered and will
continue to suffer pain, humiliation and emotional distress.

41. PLAINTIFF has suffered and will continue to suffer a loss of earnings and other
employment benefits and job opportunities PLAINTIFF is thereby entitled to general and
compensatory damages in amounts to be proven at trial.

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Case 2:16-cV-01805-I\/||\/|D-VCF Document 1 Filed 07/29/16 Page 8 of 12

42. LOGISTICARE intentionally, voluntarily, deliberately, and willfully
discriminated against PLAINTIFF by depriving of or interfering with PLAINTIFF’S rights and
benefits under the Americans with Disabilities Act (42 U.S.C. §§12101 et seq.).

43. LOGISTICARE’s unlawful actions were intentional, willful, malicious and/or
done with reckless disregard for PLAINTIFF’S federally protected rights.

44. PLAINTIFF requests relief as described in the Prayer for Relief below.

COUNT III
TORTIOUS DISCHARGE
(LOGISTICARE AND DOES 1-50, inclusive.)

45. PLAINTIFF hereby incorporates paragraphs 1 through 44 of this Complaint as
though fully set forth herein

46. PLAINTIFF engaged in conduct in furtherance of public policy. Specifically,
PLAINTIFF requested reasonable accommodation due to her disability.

47. LOGISTICARE had actual and constructive knowledge of PLAINTIFF’s conduct
in that PLAINTIFF was instructed to see a doctor by a Manager. PLAINTIFF was ordered to
take three days off from work by her doctors. After returning to work, PLAINTIFF placed a
doctor’s note on the l\/lanager’s desk requesting a light duty accommodation

48. Because PLAINTIFF had a disability and requested a reasonable accommodation
she was subjected to suspension pending an investigation and eventually terminated in
derogation of the public policy of the State of Nevada.

49. PLAINTIFF’s termination was motivated by the actions of LOGISTICARE that
are in violation of a strong and compelling public policy. LOGISTICARE’s actions violated the
special relationship of trust between employers and employees. The arbitrary, abusive,
intentional, malicious termination of PLAINTIFF demands a remedy beyond what traditionally
flows from breach of contract, statutory or other administrative remedies

50. LOGISTICARE’s conduct was a substantial factor in causing damage to
PLAINTIFF
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Case 2:16-cV-01805-I\/|I\/|D-VCF Document 1 Filed 07/29/16 Page 9 of 12

51. As a direct and proximate result of LOGISTICARE’s intolerable actions and
violations of a strong a compelling public policy, PLAINTIFF has suffered harm including but
not limited to loss of wages, loss of benefits, unemployment, and a negative financial impact on
her well-being.

52. There is no adequate contractual, statutory or administrative remedy for
LOGISTICARE’s violation of a strong and compelling public policy.

' 53. PLAINTIFF requests relief as described in the Prayer for Relief below.
PRAYER FOR RELIEF

WHEREFORE, PLAINTIFF prays that this Court grant the following relief:

A. Grant PLAINTIFF the recovery of lost income that is equal to the amount of the
employment obligation she had prior to the alleged violations plus interest

B. Grant general and special damages in amounts according to proof pursuant to 42
U.S.C. §1981a, 42 U.S.C. §2000e, the Americans with Disabilities Act (42 U.S.C §12101 et
seq.), and other applicable statutes.

C. Punitive damages pursuant to 42 U.S.C. §1981a, 42 U.S.C. §2000e, the Americans
with Disabilities Act (42 U.S.C §12101 et seq.), and other applicable statutes to deter and
punish the defendants;

D. Reasonable attorneys’ fees pursuant to 42 U.S.C. §2000e, the Americans with
Disabilities Act (42 U.S.C §12101 et seq.), and other applicable statutes.

E. Grant costs of suit incurred herein; and

F. Grant such other and further relief as the court deems just and proper.
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DATED; July §§ ,2016 wATKIN EroFsKY,LLP

/ w

 

 

 

 

By: ¢
/‘NitjE/R. wArKrNs
‘ lAN S. LETOFSKY
‘ ’ttorneys for PLAINTIFF,
SHANTELL ORTIZ
COMPLAINT FOR DAMAGES

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Case 2:16-cV-01805-I\/|I\/|D-VCF Document 1 Filed 07/29/16 Page 10 of 12

REOUEST FOR JURY TRIAL
Pursuant to Federal Rules of Civil Procedure 38(b) and 42 U.S.C. §198la, PLAINTIFF

demands a trial by jury in this action on all issues so triable.

DATED: July 25 , 2016 WATKINS & IOFSKY, LLP

 
    

By:

 

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sHANrELL oRrrz

 

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Case 2:16-cV-01805-I\/|I\/|D-VCF Document 1 Filed 07/29/16 Page 11 of 12

EXHIBIT 1

 

 

 

COMPLAINT FOR DAl\/IAGES
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Case 2:16-cv-01805-I\/|I\/|D-VCF Document 1 Filed 07/29/16 Page 12 of 12

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EEoc Form 161-s (11/09) U.S
4 NorlcE oF RleHr To SuE (/ssL/Eo o/v REQuEsr)
To: Shante|l Ortiz From: Los Angeles District Office
3900 E. Sunset Road # 2118 255 E. Temple St. 4th Floor
Las Vegas, NV 89120 Los Ange|es, CA 90012

:] On behalf of person(s) aggrieved whose identity is
CONF/DENT/AL (29 CFR §1601.7(a))

 

EEOC Charge No. EEOC Representative Telephone No.
Karrie L. Nlaeda, n v
348-2016-00071 State & Local Coordinator (213) 894~1100

 

(See also the additional information enclosed With this form.)
NoricE ro rHE'PERsoN AGGRIEVED:

Title Vll of the Civi| Rights Act of 1964, the Americans with Disabilities Act (ADA), or the Genetic information Nondiscrimination
Act (G|NA): Thls is your Notice of Right to Sue, issued under Title \/ll, the ADA or GlNA based on the above-numbered charge. lt has
been issued at your request Your lawsuit under Tit|e Vll, the ADA or G|NA must be filed in a federal or state court W|TH|N 90 DAYS
of your receipt of this notice; or your right to sue based on this charge will be lost. (l'he time limit for filing suit based on a claim under
state law may be different.) '

l\/|ore than 180 days have passed since the h|ing of this charge.

l_ess than 180 days have passed since the filing of this charge, but l have determined that it is unlikely that the EEOC will
be able to complete its administrative processing within 180 days from the filing of this charge

The EEOC is terminating its processing of this charge.

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The EEOC will continue to process this charge

Age Discrimination in Employment Act (ADEA): You may sue under the ADEA at any time from 60 days after the charge was filed until
90 days after you receive notice that we have completed action on the charge ln this regard, the paragraph marked below applies to
your case:

The EEOC is closing your case. Therefore, your lawsuit under the ADEA must be filed in federal or state court WlTl-llN
90 DAYS of your receipt of this Notice. Othervvise, your right to sue based on the above~numbered charge will be |ost.

l:l

The EEOC is continuing its handling of your ADEA case. However, if 60 days have passed since the hian of the charge,
you may hle suit in federal or state court under the ADEA at this time.

Equal Pay Act (EPA): You already have the right to sue under the EPA (flling an EEOC‘charge is not required.) EPA suits must be brought
in federal or state court within 2 years (3 years for willful vio|a'tions)v of the alleged EPA underpayment This means that backpay due for
any violations that occurred more than 2 years 13 years) before you file suit may not be .collectib|e.

|f you me suit, based on this charge, please send a copy of your court complaint to this office

,On beh C mission
l\/iay 5, 2016

 

Enclosures(s) t _` : Rosa M' Viramontes’ (Daie'Mai/ed)
" ‘ " ' ' ' ‘ District Director

 

CC: Jenny‘Southern
Senior V.P. of H.R.
LOG|ST|CARE
1275 Peachtree§t.{b`th F|oor'
Atlanta*,"GA'"3`0309

